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Via Facsimile Undel' Seal - (718) 613-2446 UJ&J I°

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And Vla Federal Express iv Leo C_IW

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The Honorable I. Leo Glasser
United States District Court
Eastem District of New York
225 Cadman Plaza East

Brooklyn, New York, 11201

Re: United States of America v. Felix Sater

 

Case No. : 98CR1101 (ILG)
Our File No. : 07765.00155
Dear Judge Glasser:

In behalf of non-party respondent Frederick M. Oberlander, I am forwarding the
following documents:

A. The motion for a sealing order filed in the matter of Kriss, et al. v. Bayrock Group LLC,
el al.

B. Email from Felix Sater to Josh Bernstein’s personal email account on October 3, 2008,
which states, albeit ungramrnatically, “I arn in Russia so am not sure how to influence
events with Julius. But I will try. Please remind me on Monday. I will call him and try to
get him to allow access for you into Bayrock'. J osh you had downloaded all emails on to a
hard drive I ask you to get I would like to get that please.” l believe that with punctuation,
and without typos, the critical sentence would read as follows: “Josh, you had
downloaded all emails on to a hard drive [that] l ask[ed] you to get. I would like to get
that [back] please.”

C. Cover page of deposition in matter of Bernstein v. Bayrock Group, and pages 194-195,
wherein Mr. Bernstein testified as follows:

Q. Did you ever download portions of the hard drive?

A. l believe so.
Q. Could you explain that when, how, what did you download, for what purpose?

4039314.1

Page 2

A. At the direction of Felix Satter I downloaded regularly files from that hard drive and
the server.

What drives, what files?

©f§.`>

What directions did Felix give you as far as --

A. To keep them offsite [i.e., in Bernstein’s horne], an archival copy as much of the
server as I could. This was on or about December 17, 2007, I think well before, when
he was afraid that the firm was going to screw him, that he wouldn’t be able, you
know, to make his profits of his half of the ownership of the firm.

Q. And did you follow his instructions?

A. Yes. (Emphasis added).

Additionally, at page 224, Mr. Bemstein testified that he indiscriminately backed up
files from December 2007 until the end of his employment in September 2008.

Screenshots of the “meta-data” concerning the documents at issue in this proceeding lt
has occurred to me that the electronic files of the documents have information as to when
exactly they were created. By opening each PDF file, and then clicking on “FILE” and
then on “PROPERTIES,” I was able to ascertain when exactly these PDF files were
created. The screenshots show that the documents were created on a Toshiba e-Studio
352 scanner on December 26th and 27th, 2007 ; i.e., within days of when Sater instructed
Bernstein to archive all of the documents, and obviously well before Mr. Oberlander was
retained to represent Mr. Bemstein at his deposition I have also enclosed a photograph of
a Toshiba e-Studio 352 scanner, so that the Court will see that this is not the type of
scanner that would ordinarily be kept in one’s home.

Business Week article by Gary ‘Weiss,l dated November 9, 1998, and publicly available
to this day on the intemet. The article, entitled “The Case of the Gym Bag that Squealed,”
discusses this very criminal case against Felix Sater, and states, “According to a sealed
criminal complaint filed with the U.S. District Court in Brooklyn and obtained by
BUSINESS WEEK, the FBI maintains that the mini-storage document trove sets forth a
tale of stock manipulation and money laundering” (Emphasis added) The article
continues: “The feds are charging that the stock scheme involves two individuals ~-
Genady “Gene” Klotsman and Felix Sater -- who they say ran a now defunct micro-cap
brokerage, White Rock Partners & Co. ....”

* ¢ *
This last item is obviously the most important As Will be addressed in the further letter

briefing on this case, it is Mr. Oberlander’s position that his First Amendment rights are as

 

l An intemet search reveals that Mr. Weiss is now an independent author of books regarding
organized crime and RICO. His titles include: “Wall Street Versus America.' A Muckraking Look
at the Thieves, Fakers, and Charlatans Who Are Ripping You O)jf ” and “Born to Steal.' When

the Mafia Hz`t Wall Street.”

WILSON, ELSER, MOSKOWITZ, EDELMAN & DlCKER LLP
4039314.1

Page 3

strong, if not stronger, than Business Week’s and Mr. Weiss’s, Moreover, it is thus Mr.
Oberlander’s position that, if he is to be subjected to a gag order, or to an order directing the
return of the U.S. v. Sater complaint and other documents that are purportedly protected by a
sealing order (which Mr. Oberlander has never seen), then this Court must also subject Business
Week and Mr. Weiss to the same order, directing them to return of the “sealed” complaint, and
directing that the article be purged from the Business Week website.

As the Court will recall, at the hearing on June 21st, the Court broadened the scope of the
the TRO to include the criminal complaint in this matter. Moreover, page 2 of the order to show
cause states, “ORDERED, that pending said hearing, Messrs. Kriss, Ejekam and Oberlander and

.all other persons who have obtained the Sealed and Confidential Materials, are restrained and
enjoined from disseminating the Sealed and Confidential Materials or information therein
further[. ]” (Emphasis added).

It ls Mr. Oberlander’ s position that, by the express terms of the order to show cause, this
OTSC must now be directed to Business Week and Mr. Weiss, as they are “other persons who
have obtained the Sealed and Confidential Materials.” And if the Court is to direct Mr.
Oberlander to return such documents, then it must also direct Business Week to remove the
aforementioned article from its website. In sum, Mr. Oberlander must be treated equally, and he
must be allowed to use the information as he sees fit, in accordance with his First Amendrnent
rights, just as Business Week ean. Or Business Week and Mr. Weiss must be questioned just as

Mr. Oberlander was.

One would presume that if Business Week and Mr. Weiss came into possession of the
“sealed” complaint in the U.S. v. Sater matter in l998, the Court conducted the same type of
inquiry that it is now undertaking with respect to Mr. Oberlander. Accordingly, Mr. Oberlander
now requests a copy of the complete docket sheet, so that he may ascertain whether there was
any motion practice in 1998 against Business Week and Mr. Weiss which may have some
collateral-estoppel consequences as to the issues raised herein. If no inquiry was conducted in
1998 as to how Business Week and Mr. Weiss came into possession of the “sealed” complaint,
then Mr. Oberlander expects that the Court will now undertake that inquiry. This court should
also inquire of the United States Attorney’s office whether it leaked the “sealed” complaint to
Business Week and Mr. Weiss.

Mr. Oberlander believes that, as these proceedings are not yet closed, it would be
appropriate for the court to direct Business Week and Mr. Weiss to testify, just as Mr.
Oberlander was directed to testify. Mr. Oberlander believes that they should be made non-party
respondents to these proceedings

These issues will be addressed further in response to Ms. Moore’s letter brief to the eourt.

Respeetfully yours,

WILSON, ELSER, MOSKOWI Z, EDELMAN & DICKER LLP

 
 
 

Riehard E. Lerner

WlLSON, ELSER, MOSKOWITZ, EDELMAN & DICKER LLP
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Page 4

ee: Via E-Mail (With All Enclosures)

Kelly Moore, Esq.

Brian Herman, Esq.

David Snider, Esq.

Thomas W. Hyland, Esq.

Lauren J. Rocklin, Esq.

Stamatios Stamoulis, Esq.

Todd Kaminsky, Esq. - US Attomey’s Offiee
Marshall Miller, Esq. ~ US Attorney’s Offiee
Frederick M. Oberlander, Esq.

WlLSON, ELSER, MOSKOW!TZ, EDELMAN & DICKER LLP

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NY

 

JOD¥ KRISS and MICHAEL EJEKAM, directly and derivatively on behalf of
BAYROCK GROUP LLC, BAYROCK SPRING STREEI` LLC; and
BAYROCK WHITESTONE LLC;

Plaintifi`s,
v.

BAYROCK GROUP LLC; TEVFIK ARIF; JULIUS SCHWARZ;

FELIX SATTER; BRIAN HALBERG; SALVATORE LAURIA;

ALEX SALOMON; JERRY WEINRICH; SALOMON & COMPANY PC;
AKERMAN SENTERFITT LLP; MARTIN DOMB; CRAIG BROWN;
DUVAL & STACHENFELD LLP; BRUCE STACHENFELD;

DAVID GRANIN; NIXON PEABODY LLP; ADAM GILBERT;
ROBERTS & HOLLAND LLP; ELLIOT PISEM; MICHAEL SAMUEL;
MEL DOGAN; BAYROCK SPRING STR.EET LLC; JOHN DOES 1-100;
BAYROCK WHITESTONE LLC; BAYROCK CAMELBACK LLC:
BAYROCK MERRIMAC LLC; BAYROCK GROUP INC.', and
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA.;

Defendants
and

BAYROCK GROUP LLC, BAYROCK SPRING STR_EET LLC, and
BAYROCK WHITESTONE LLC

Nominal Defendants (Derivative Plaintiffs)

 

 

ORDER TO SEAL COMPLAINT

VERIFIED
COMPLAINT

.]URY TRIAL
DEMANDED

The Complaint, and any amendments filed thereto, are ORDERED sealed, not to be disclosed

to the public physically or by any other means, electronically or otherwise, until Plaintiffs

and Defendants have had opportunity to arrange for permanent orders of redaction and such

other protective orders as the presiding judge shall deem just and proper.

Mareh 10, 2010

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NY

 

JODY KRISS and MICHAEL EJEKAM, directly and derivatively on behalf of
BAYROCK GROUP LLC, BAYROCK SPRING STREET LLC; and
BAYROCK WHITESTONE LLC;

Plaintiffs,
v.

BAYROCK GROUP LLC; TEVFIK ARIF; JULIUS SCHWARZ;

FELIX SATTER,' BRIAN HALBERG; SALVATORE LAURIA;

ALEX SALOMON; JERRY WE]NRICH; SALOMON & COMPANY PC;
AKERMAN SENTERFITT LLP; MARTIN DOMB; CRAIG BROWN;
DUVAL & STACHENFELD LLP; BRUCE STACHENFELD;

DAVID GRANIN; NIXON PEABODY LLP; ADAM GILBERT;
ROBERTS & HOLLAND LLP; ELLIOT PISEM; MICHAEL SAMUEL;
MEL DOGAN; BAYROCK SPRING S'I`REET LLC; JOHN DOES 1-100;
BAYROCK WHITESTONE LLC; BAYROCK CAMELBACK LLC;
BAYROCK MERRIMAC LLC; BAYROCK GROUP INC.; and
NATIONAL UNION FIRE INSURANCE CO. OF PITTSBURGH, PA.;

Defendants
and

BAYROCK GROUP LLC, BAYROCK SPRING STREET LLC, and
BAYROCK WHITESTONE LLC

Nominal Defendants (Derivative Plaintiffs)

 

 

VERIFIED
COMPLAINT

JURY TRIAL
DEMANDED

Plaintiffs Jody Kriss (“Kriss”) and Michael Ejekam (“Ejekam”), through their counsel, allege:

EX PAR'I`E MO'l`ION TO FILE COMPLAINT UNDER SEAL

Petitioners JODY KRJSS and MICHAEL EJEKAM (“Petitioners”), by their

undersigned attomey, hereby respectfully submit this Ex Parre Motion to File Complaint

Under Seal.

NECESSITY OF PRIVACY

The Verified Complaint asserts claims in RICO, 18 USC §1962(c), predicated on a great

many acts of financial fraud committed through certain Defendants’ operation of Bayrock

 

Group LLC over many years. The requirements of Bell Atlanrr'c fact pleading and this
Circuit’s standards for Rule 9(b) required extremely detailed allegations of the underlying
facts, such allegations not suited for placement in Exhibits. The Complaint contains private
and confidential information including the personal tax and financial information of innocent
partners in the RICO enterprise and the enterprise itself, also a victim. This is in part a
derivative action and the victim enterprise may be caused grave injury by the public
disclosure of this information

Finally, there are emails and other communications for which Defendants may claim
privilege While Plaintiff` Kriss has the standing as a member of the relevant limited liability
companies to waive any privilege, both by his plenary agency authority and his Garner
privileges, and Plaintiffs are confident any privilege that might have ever attached was long
since waived or vitiated by, inter alia, crime fraud exception, nevertheless Defendants should
have some opportunity to make arrangements for the redaction of this material.
Consequently, Plaintiffs request this Court order this Complaint, and any amendments
thereto, be kept sealed and not disclosed to any person by any means, electronic or otherwise,
until such time as both Plaintiffs and Defendants may be able to make arrangements with the
presiding judge for the redaction of such private or confidential or possibly privileged

material

APPLICABLE LAW
While there is a presumption of public access to “judicial doeuments” -- f.,e.,
documents filed with the court that are “relevant to the performance of the judicial function

and useful in the judicial process”-- that presumption is rebuttable. United States v. Amodeo,

 

44 F.3d 141, 145 (2d Cir. 1995). The Second Circuit has enumerated the steps a district court
must take when deciding whether documents may be removed from public access. See
Lugosch v. Pyramr'd Co. of Onondaga, 435 F.3d 110 (2d Cir. 2006). Under the Second
Circuit‘s framework, after determining that the papers at issue are, indeed, “judicial
decuments,” the Court must assess the weight to be given to the presumption in favor of
public access to such documents. Id. at 119. The Court then must balance the competing
considerations supporting confidentiality against the presumption of aecess, which may
include, inter alia, “the privacy interests of those resisting disclosure.” Id. at 120 (quoti`ng
Amodeo, 71 F.3d at 1050) (intemal quotation marks omitted).
ARGUMENT

The privacy interests of the Petitioner and Respondent should be accorded greater
weight than the rebuttable presumption of open access. The Complaint contain information of
a highly confidential and sensitive nature, rclating, e.g., to proprietary business matters such
as salaries, personal tax information of many individuals and confidential business strategies,
the public dissemination of which would be detrimental to both Petitioner and Respondent.

Further, many of the exhibits to the Complaint (as well as the discussion of those
exhibits in the Complaint) are subject to confidentiality agreements When considering
whether to seal documents submitted in connection with a confirmation proceeding, the
Second Circuit has shown deference to parties’ confidentiality agreementsl See, e.g.,
DiRussa v. Dean Wr`tter Reynolds, 121 F.3d 818, 825 (2d Cir, 1997) (“sealing the file” where
“a confidentiality agreement entered into by the parties during the discovery phase of the

arbitration required that the papers ... submitted to the district court be placed under seal.”)

 

c.f Lugosch, 435 F.3d at 126.

The public release-of the confidential information contained in the Complaint and the
attendant exhibits potentially could cause serious harm to the future business dealings of both
Parties and would be contrary to their reasonable expectations of confidentiality

WHEREFORE, the Petitioner hereby moves this honorable Court to grant this Ex

Parte Motion to File the Complaint Under Seal.

Dated: March 10, 2010

Respectfully submitted,

Frederick M. Oberlander
Counsel for Plaintif`fs
P.O. Box 1870
Montauk, NY 11954
212.826.0357 Tel.
212.202.7624 Fax
fred55@aol.eom

 

   

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Gi §§ l g Josh B <joshsemall@gmall.com>

be ll lot regis

 

Fo"owup

 

Felix Satter <FS@bayroekgroup.com> Fri, Oct 3, 2008 at 4:12 AM
To: joshsemail@gmai|.com

l am in Russia so | am not sure how to intluence events with Ju|ius. But l will try. Please remind me on Monday. l will
call him and try to get him to allow access for you into Bayrock. Josh you had downloaded all emails onto a hard
drive l ask you to get l would like to get that pleasel

Regarding expenses l did not see the Laguna emai|. P|ease resend (what deal was that on?)

l am in Russia and will probably be here for a while so its hard to reach me but despite that l do check my voicemai|
and have not heard any messagges from you. Fee| free to ca||, but please be mindful of time difference

| have an opportunity regarding Grand |-lyatt |Vloscow if you are interested please call me this weekend to discuss

l don't want to sotnd like an asshole, but (l love that usually that's exactly when someones sounds like an assho|e). l
do not need your help you will not be making me any money, that | can't make more of without you (simp|y because |
don't have to cut anyone in on it, youself included). l am offering you an opportunity to make money on a deal l have
already and will make money on (wether you help or not). |f you are not working yet it could be a fast deal and a
few sheckels. The only commission agreement you will get signed is an entity that is worthless lt is completely on
my word only. lf you believe | know how to get paid AND that in the event l get paid that l would honor our
agreement then we are good to go. That is the only way l am going to work with you. Trust me or no go. lf its no l
respect that but don't want to hear why. ln the interests of time.

Tiranks hope to speak to you this weekend
You can call my 917-604-2000 or
+79852310002 (moscow cel|)

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Joshua Bernstein

MYel

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF WESTCHESTER

JOSHUA BERNS'I'EIN, X
Plaintiff,
- against - Index No:
02579/09
BAYROCK GROUP, LLC,
Defendant.
_ - _ _ _ 1 - _ _ _ _ _ _ _ 1 _ _ _ X

ll Martine Avenue
White Plains, New York
March 8, 2010

10:04 a.m.

 

EXAMINATION BEFORE TRIAL OF
JOSHUA BERNSTEIN, the Plaintiff berein,
taken by an attorney for the Defendant,
pursuant to Notice and Order, held at the §
above place and time before Apryl S.
Montero, a Stenotype Reporter and Notary
Public within and for the State of New
York.

 

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Golkow Technologies, Inc. - 1.877.370.DEPS

 

Joshua Bernstein

 

  

 

 

 

Page194 Page196 _ __
1 A. Most do, yes 1 It's September 8, 2008, on page 11? t "
2 Q. Dld you ever take that hard 2 A. Yes.
3 drive,r download any of it for any reason 3 Q. And on page 12 did you
4 whatsoever? 4 receive another one from him on
5 MR. OBERLANDER: Compound_ 5 September 4th -- these may be -- I tried
6 question. Objection. ' 6 to keep them chronological, but I see
7 Q. Did you ever take out that 7 that September 4th comes after September
8 hard drive physically? 8 Bth. "Where are you?"
9 A'. No. 9 A. Yes.
10 Q. Did you ever download 10 Q. So both on September 401 and
11 portions of the hard drive? 11 September 8th he, Felix, asked you where
12 A. l believe so. 12 you were?
13 Q. Cou|d you explain that when, 13 A. Sure, which he would
14 how, what did you download, for what 14 regularly send to the employees who
15 purpose? 15 worked for him_. including Dan Rldloff,
16 A. At the direction of Felix 16 and we'd correspond about where we were
17 $atber I downloaded regularly files from 17 at the tlme.
18 that hard drive and the server. 18 Q. And on September 4th on -
19 Q. What drives, what files? 19 page 13 he says, "Where are you? Answer
20 Particular nies or groups of files? 20 now." .
21 A. Groups, varlous. 21 Did you receive that?
22 Q. What directions did Felix 22 A. Yes.
23 . give you as far as -- 23 Q. Does that indicate to you
24 A. To keep them offsite, an 24 that he was lmpatient to hear from you?
Page 195 Page 19
1 ardiival copy as much of the server as I 1 A. Yes, because I was sleeping
2 cou|d. Thls was on or about December 17, 2 at this time.
3 2007, I think well before, when he was 3 Q. You were in Europe?
4 afraid that the firm was going to screw 4 A. Yes.
5 him, that he wouldn't be ab|e, you know, 5 Q. Let's go back to the -
6 to make his profits of his half of the 6 THE WITNESS: Can I take a
7 ownership of the tirm. 7 break, a bathroom break.
8 Q. And did you foliow his 8 MR. DOMB; Sure.
9 . instructions? ' 9 (Whereupon, a short recess
10 A. Yes. 10 was taken.)
11 Q. So you downloaded nies from 11 MR. DOMB: Let's mark the
12 what computers or what servers? 12 next exhiblt. I think it's a
_ 13 A. There was only one active 13 multlpage exhibit which I've
14 server within the firm. 14 numbered 1 through 24.
15 Q. What files? 15 MR. OBERLANDER: Off the
16 A. Various e-mail files. 16 reoord.
17 Q. Of whose? 17 (Whereupon, a discussion was
18 A. Of various users. 18 held off the reoord.)
19 Q. Okay. I'm going to ask you 19 (Whereupon, Defendant's
20 about that in a couple of minutes. I 20 Exhibit S, a 24-page document, was
21 want to finish with this exhibit 21 marked for identification as of
22 Please turn to page 11. Did 22 this date.)
23 you receive an e-mail from Felix Satter 23 Q. Exhibit S.
24 on September 8th saying, "Where are you?" 24 A. Yes. (
_,m." m ,...._.m,r..u..__, mx.,_,... -...._,..-..-_-..1 … yes .,_~,..»...i .».... . ., _. ,L.,W..t._w.

 

 

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Golkow Technologies, Inc. - 1.877.370.DEP5

 

Joshua Bernsteln

 

 

 

Page 222 ' -
1 $200,000, not $100, 000, in connection 1 items. . 7 - - mem 1
2 with the Loehm_ann' s deal"? 2 Q. Contalnlhg the same ltems?
3 A. No. _ 3 A. I believe so. -
4 Q. Did you write an e-mail to 4 Q._ And what was in it
5 Tevtiq Arif Saylng that You a<pected'-to _. 5 generally -
6 be paid the equivalent of a broker, a § 6 Did you go through a similar
7 broker.’s fee on the i.oehmann's deal, 7 process where you selected what to put in
8 _whlch would be about million dollars? 8 there, or did 'you.just` downioad large
9 A. No. Tevfiq Arlf did not 9 numbers of nies indisaiminantiy?
10 have emaii. 10 A. Indlscrirnlnantly.
11 Q. Did you write such an e-mail 11 Q. What period of dme?
12 to anyone else at the company to let them 12 A. From approximately
13 know what deal that you say he had 13 December 2007 to the end of my
14 promised you? 14 employment
15 A. No. They were all verbal. 15 Q. ` Well, were you able to
16 Q. Now, getting back, you said 16 downlcad things through September 16th or
17 you took paper nies and you also took 17 through some date earlier when you were
18 some electronic files with you when you 18 in the office? 7
19 left Bayrock? 19 A. Through September 16th.
20 A. Yei. 20 Q. SO we discussed before that
21 Q. What other electronic files? 21 for some reason unknown to me and unknown
22 A. Bad<up files of my e-mail 22 to Bayrock, four months of e-rnails from
23 and anything else that was available on 23 your sent box couidn't be found at
24 my oomputer. 24 Bayrock.
rage 223 rage 225 '
1 Q. Well, did you have a backup 1 Are they in\your backup
2 tile of all your e-mails, incoming and 2 drives that you've maintained ail this
3 out-golng? 3 time?
4 A. No. 4 A. .I don't believe so.
5 Q. How did you -- 5 Q. Why not?
6 What ts in that bad<up 6 A. Becausel don't believe they
7 tile - we|l, let me withdraw that. 7 are there.
8 Whatever you took in a . 8 Q. But you, it was the
9 backup file do you still have lt, from _ 9 intention when you lett Bayrock to
10 Bayrock? 10 download all these-tiles and put mem
11 A. Yee. 11 into this portable hard drive; correct?
12 Q. So it hasn't changed, you 12 A. Gorrect.
13 haven't deleted things from it? 13 Q. So you didn‘l: get them
14 A. I don't believe so. 14 either? Just like Bayrock doesn't have _’
15 Q, 50 you still have that -- 15 them you don‘t have them either? §
16 Is it ln a thumb drive? 16 A. Idon't believe so.
17 what kind of a - 17 Q. Do you have any explanation '
18 A. Portable hard drive, thumb 18 for where they are or what happened to
19 drive 19 ihem?
20 Q. And you still have li: ln me 20 A. Yes. Bayrock deleted them.
21 same condition containing the same items 21 Q. Weli, the period - §
22 that it had before you left Bayrocl<? 22 `ihat's your belief. Do you
23 A. Hard to answer the question, 23 have any --
24 the condition or containing the same 24 i

 
   

 

 

 

A. Thet's my beiief.

57(Pages 222 to 225)

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EUSFNESS\NEEK: NOVEMBER 9, 1998

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An accidentat find in New York tips the Feds to a stock scam

lt was the kind of oversight that is, usually, pretty harmless A
"Marina Shap" failed to pay the rent on her cubicle at Manhattan
lV|ini-Storage in the SoHo section of New York. When the manager
opened the bin last January, however, he found an intriguing
assortment of knickknacks: Two 9-mii|imeter pistols, a 12-gauge
shotgun, and, the FBi asserts in a court ti|ing, “various documents
in a box and gym bag."

The fluke discovery of the guns was hardly earth-shattering in gun-
happy New York. But the documents drew the attention of the
FBl's Russian organized crime squad According to a sealed
criminal complaint filed with the U.S. District Court in Brooklyn and
obtained by BUS|NESS WEEK, the FB| maintains that the mini-
storage document trove sets forth a tale of stock manipulation and
money laundering Alleged|y involved are more than 30 foreign
shell companies and bank accounts that, the complaint maintainsl
were used to launder the proceeds from illegal stock sales during
1994 and 1995.

MONEY LAUNDER|NG. The feds are charging that the stock
scheme involves two individuals-Gennady "Gene" Klotsman and
Felix Sater--who they say ran a now-defunct micro»cap brokerage
White Rock Partners & Co., which later changed its name to State
Street Capital Nlarkets. Both are charged with stock manipulation
and money laundering. The lawyer listed in the court docket as
Klotsman‘s attorney, Michael W. Kahn, did not respond to a
request for comment Klotsman was arrested in September and is
in custody. Efforts to reach Saterwere unsuccessful.

The stock targeted in the complaint was a Baia Cynwyd (Penn.)
company called Holly Products lnc. The company makes
electronic components for casino equipment among other things,
and was the subject of a public offering by White Rock in late
1994. its share price was elevated through 1995 but swiftly
plummeted, down 96% over the past year to a recent price of 3
cents. The feds do not charge any involvement by officials of Hol|y,
whose most recent phone listing is inactive. According to the FBI.
Sater and Klotsman manipulated Holly and other shares in a
"purnp and dump“ scheme, and then laundered the proceeds

According to the complaint, the scheme began when K|otsman and
Sater secretly acquired large blocks of stock for offshore
corporations they controlled The FB| maintains that the two men
inflated share prices by under-the-table payoffs to brokers at White
Rocl< and other Hrms, pegged to sales volume The two men's
protits, $10 million according to the complaintl then went through a
trans*nationa| money |aundry. '

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BW Online |November 9, 1998 | THE CASE OF THE GYM BAG THAT SQUEALED Page 2 of 2

According to the feds, the money that came in from hap|ess
investors was sent on a round-the-wor|d tour--to the Nether|ands
Antilles and Switzerland, and then to israe|, Luxernbourg, the
Netheriands, lreland, the Channel lslands, and the U.S. The feds
say that Sater and Klotsman sometimes used phony names-and
sometimes did not--which evidently made the FBl‘s job easier.

The prosecution of Klotsman and Sater bears strong similarities to
the prosecution of New Yorl< jeweler A|eks Paul-who is not
charged in this case (BW--Aug. 10). Paul was arrested in Ju|y and
charged with engaging in a money-laundering scheme for White
Rock. Paul pleaded not guilty, and his lawyer says he is vigorously
fighting the charges

One issue raised by the Klotsman/Sater complaint is the possibility
that the FB| may be probing ties to Russian organized crime-
which has long been believed to be enmeshed in the world of
shady micro-cap brokers The FBl agent handling the
KlotsmanlSater case, Leo Tadcleo, belongs to the FBl's Russian
organized crime squad Sources familiar with the Paul case say
the FBi is also probing possibie Russian and |ta|ian mob links in
the Paul investigation Paul's lawyer1 Benjamin Brafman, denies
knowledge of any mob probe

|f indeed the feds are pursuing mob ties, they need more than
lucky breaks like unpaid mini-storage bills They need confidential
informants familiar with the operations of these firms And the
complaints in both cases indicate that they've got several. Perhaps
one of them, someday, will answer this question: Who owned
those two Q'millimeter pistols and that 12~gauge snotgun? And
what was he or she planning to do with them‘?

By Gary Weiss in New York

 

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